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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
__________________________________________
AHMED ALI MUTHANA, individually               )
and as next friend of Hoda Muthana            )
and Minor John Doe initials A.M.,             )
                                              )
                Plaintiff,                    )
                                              )
       v.                                     ) Civil Action No. 1:19-cv-00445-RBW
                                              )
MICHAEL POMPEO, et al.,                       )
                                              )
                Defendants.                   )
__________________________________________)

    MEMORANDUM IN RESPONSE TO THE COURT’S MARCH 1, 2019 ORDER




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                                            Introduction

        The government respectfully submits this brief in response to the Court’s order to “file a

response to the Plaintiff’s complaint.” March 1, 2019 Minute Order. 1 A explained below, the

Court should grant no relief to Plaintiff and should handle this case in the normal course rather

than on the expedited basis urged by Plaintiff.

        First, the Court cannot grant any relief for Hoda Muthana because Plaintiff’s claims on her

behalf are meritless. Those claims are profoundly flawed because Muthana is not and has never

been a U.S. citizen, and her son likewise is not a U.S. citizen. Settled law applied to the relevant

events clearly demonstrates that Plaintiff enjoyed diplomatic-agent-level-immunity until February

6, 1995—after Muthana’s birth. Thus, Muthana was not subject to the jurisdiction of the United

States when she was born, by virtue of her parents’ enjoyment of diplomatic-agent-level immunity.

So she did not and could not have acquired U.S. citizenship at birth. Because Muthana is not a

citizen, every claim seeking relief for her fails.

        Second, the equities in this case defeat any claim for emergency relief—injunctive,

declaratory, or mandamus—or for expedited treatment. Most fundamentally, Muthana’s own

actions belie any claim for emergency equitable relief or for expedited treatment.              The

circumstances underlying the alleged need for expedited relief or consideration—Muthana’s

alleged internment by Kurdish forces in Syria—are a result of Muthana’s own decision to travel

abroad to join a foreign terrorist organization. Furthermore, Muthana was advised that she was


1
  Under Federal Rule of Civil Procedure 12, the government has 60 days to serve an answer, Fed.
R. Civ. P. 12(a)(2), or to present defenses in a motion, Fed. R. Civ. P. 12(b). By submitting this
brief, the government does not waive any defenses, claims, or responses to the complaint afforded
under Rule 12. The government reserves its right to file a motion to dismiss or other responsive
pleading, as it is entitled to do under the Federal Rules of Civil Procedure. The government notes
that Plaintiff has not submitted any motion for preliminary or substantive relief—declaratory,
injunctive, or otherwise—but instead has filed a motion to expedite, which this response addresses.


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not a U.S. citizen over three years ago—in January 2016—but she did not challenge that

determination then and her father has waited until now to challenge it and to seek expedited

treatment. Importantly, Muthana would have understood this unchallenged determination that she

was not a U.S. citizen when she gave birth to her son abroad, and his circumstance is like that of

any child born abroad to a non-citizen. To the extent that there are any plausible exigencies, they

are of Muthana’s own creation. And in any event, there is no judicially enforceable duty of the

United States to attempt to obtain the release of Muthana or her son—even if she were a U.S.

citizen. Plaintiff’s request for an order of release from foreign military custody is far beyond any

relief that could be ordered by a court.

       Third, the complaint is profoundly flawed for still other reasons—providing additional

independent grounds to reject any relief for Plaintiff. Although the government is not waiving its

right to respond to Plaintiff’s claims in full, the government believes that it is important for the

Court to be alerted to some of the basic flaws presented. The Court’s jurisdiction is doubtful over

all of the claims associated with Muthana due to lack of next-friend standing and no waiver of

sovereign immunity. Moreover, the Court cannot grant citizenship in equity. And the Court cannot

evaluate the scope of the material-support statute in this litigation because Plaintiff has lacks

standing and seeks an improper advisory opinion.

       Finally, Plaintiff’s litigation tactics should give this Court serious pause. He has taken a

highly unorthodox approach that seems aimed at papering over the profound flaws in his lawsuit

and at improperly benefiting from expedited consideration. Plaintiff should not benefit from his

tactical efforts to present these baseless claims for relief, which grossly mischaracterize the

government’s revocation of a passport of a non-citizen that occurred years ago, on an emergency

track that does not respect the importance of the issues involved. The Court should not truncate




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the normal period permitted under Federal Rule of Civil Procedure 12 to respond to the complaint

and should return this case to the normal civil process.

                                           Background

       The government presents the following background to aid the Court at the March 4 hearing.

Without admitting or denying any allegations in the complaint—or waiving any defenses—the

government cites allegations in and exhibits to the complaint, and factual information on Plaintiff’s

status as a diplomatic agent in 1994 and 1995. The government submits this information to assist

the Court in its evaluation of the case and to explain why the Court should not evaluate the

complaint on an expedited basis or grant any relief to Plaintiff.

       Legal Background. The controlling statute in the United States on diplomatic immunity is

the Diplomatic Relations Act of 1978, 22 U.S.C. §§ 254a–254e, which incorporated the Vienna

Convention on Diplomatic Relations, done April 18, 1961, 23 U.S.T. 3227, T.I.A.S. No. 7502, 500

U.N.T.S. 95 (entered into force with respect to the United States on December 13, 1972). See

Abdulaziz v. Metropolitan Dade Cnty., 741 F.2d 1328, 1330 (11th Cir. 1984). The Vienna

Convention encapsulates accepted practice regarding diplomatic relations between states and

provides the governing law in the United States on diplomatic privileges and immunities. See

Tabion v. Mufti, 73 F.3d 535, 538 (4th Cir. 1996).

       The Vienna Convention provides “diplomats with absolute immunity from criminal

prosecution and protection from most civil and administrative actions brought in the ‘receiving

State,’ i.e., the state where they are stationed.” Id. at 537. The Convention states that the purpose

of diplomatic privileges and immunities “is not to benefit individuals but to ensure the efficient

performance of the functions of diplomatic missions as representing States.” Vienna Convention

Preamble, ¶ 5.    Under the Vienna Convention, the term “diplomatic-agent-level immunity”




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denotes the complete criminal and comprehensive civil and administrative immunity that

diplomatic agents enjoy from the jurisdiction of the receiving State and is relevant for determining

whether a person born in the United States to parents with diplomatic-agent-level immunity is (or

was) born “subject to the jurisdiction” of the United States for purposes of acquiring U.S.

citizenship at birth.

        “The courts have recognized that diplomatic immunity serves the needs of the foreign

sovereign and that the diplomat’s privilege is ‘merely incidental to the benefit conferred on the

government he represents.’” Abdulaziz, 741 F.2d at 1330 (citation omitted).            The Vienna

Convention also serves to protect United States diplomatic agents abroad. Tabion v. Mufti, 877

F. Supp. 285, 293 (E.D.V.A. 1995), aff’d 73 F.3d 535 (4th Cir. 1996) (“Because not all countries

provide the level of due process to which United States citizens have become accustomed, and

because diplomats are particularly vulnerable to exploitation for political purposes, immunity for

American diplomats abroad is essential. And, understandably, reciprocity is the price paid for that

immunity.”).

        Under the Agreement Between the United Nations and the United States of America

Regarding the Headquarters of the United Nations, June 26 – Nov. 21, 1947, 61 Stat. 3416, and

the Convention on Privileges and Immunities of the United Nations, adopted Feb. 13, 1946, United

States accession, April 29, 1970, 21 U.S.T. 1418, representatives of permanent missions to the

United Nations are entitled to the same privileges and immunities in the United States as the United

States accords to diplomatic envoys.

        Factual Background. On October 15, 1990, the United Nations notified the United States

Mission to the United Nations in New York (USUN), Host Country Affairs that Yemen appointed

Plaintiff Ahmed Ali Muthana as First Secretary of the Permanent Mission of Yemen to the United




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Nations. Complaint, ECF No. 1 ¶¶ 20, 21, Ex. D; Certification of James B. Donovan, Minister-

Counselor for Host Country Affairs at USUN (Mar. 1, 2019) (attached hereto as Ex. A). In

accordance with Section 15 of the United Nations Headquarters Agreement and Article 39 of the

Vienna Convention, the United States thus accorded Plaintiff and family members forming his

household diplomatic-agent-level immunity. Compl. ¶ 18, Exs. C, D; Donovan Certification.

Yemen allegedly terminated Plaintiff as First Secretary either in June 1994 or September 1994,

but the United Nations did not notify the USUN at that time of the termination. Compl. ¶¶ 19, 25,

29, 42, Exs. C, D; Donovan Certification. In the meantime, Plaintiff’s daughter, Hoda Muthana,

was born in New Jersey on               , 1994, while Plaintiff and his family, now including the

newborn Muthana, enjoyed diplomatic-agent-level immunity. Compl. ¶ 20, Ex. D; Donovan

Certification. On February 6, 1995, the United Nations officially notified the USUN that Yemen

had terminated Plaintiff as First Secretary in September 1994. Compl. ¶ 21, Ex. D; Donovan

Certification.

       Years later, on January 24, 2005, the State Department issued Muthana a U.S. passport in

error. Compl. ¶ 21, Ex. D. The State Department renewed the passport in error on February 21,

2014. Id.

       In November 2014, Muthana departed the United States for Turkey and eventually entered

Syria. Id. ¶ 22. After arriving in Syria, Muthana entered territory controlled by the Islamic State

of Iraq and Syria (ISIS) and joined ISIS. Id. ¶ 23 n.3.

       On January 15, 2016, the United States revoked Muthana’s U.S. passport because it

determined that it had issued the passport in error and that Muthana was not, and had never been,

a U.S. citizen. Id., Ex. D. In a letter sent to her on that date, the Department of State informed

Muthana that her passport had been revoked because it had been issued erroneously, and that she




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was not a U.S. citizen because she was not subject to the jurisdiction of the United States when

she was born. Id. The letter advised her that she had a right to request a hearing within 60 days

to challenge the revocation under 22 C.F.R. § 51.70, a State Department regulation that allows a

passport bearer to request a hearing “to review the basis for the denial or revocation” of a passport.

Id. Muthana did not challenge this revocation, but even though Plaintiff was not the passport

bearer, Plaintiff responded, indicating that Muthana was not in the country and asserting that

Muthana was a U.S. citizen. Compl. ¶¶ 28, 29.

       After Muthana left the United States, she gave birth to A.M. Compl. ¶ 24. On or about

December 16, 2018, Kurdish forces in Syria took custody of Muthana and A.M. Id. ¶¶ 30, 31.

       Procedural History. On February 21, 2019, Plaintiff, individually and as putative next

friend of Muthana and A.M., filed this suit. See Compl. Plaintiff seeks injunctive relief barring

the United States from rescinding Muthana’s (or A.M.’s) purported U.S. citizenship, id. ¶¶ 39-56,

67-92 (Counts 1, 2, 4, 5, and 6), a declaratory judgment that the United States denied Muthana due

process when it purportedly revoked her alleged U.S. citizenship, id. ¶¶ 57-66 (Count 3), a writ of

mandamus requiring the United States to aid in the return of Muthana and A.M. to the United

States, id. ¶¶ 93-116 (Counts 7 and 8), and a declaratory judgment finding that Plaintiff would not

violate 18 U.S.C. § 2339B—which makes it a crime to provide material support or resources to

designated foreign terrorist organizations—if he were to provide financial assistance to Muthana,

id. ¶¶ 117-28 (Count 9).

       The same day that he filed the complaint, Plaintiff moved for an expedited hearing under

Federal Rule of Civil Procedure 57. Motion to Expedite Hearing, ECF No. 2; see Fed. R. Civ. P.

57 (“The court may order a speedy hearing of a declaratory-judgment action.”). Plaintiff sought

an expedited hearing on all nine counts of the complaint. Mot. 3. Plaintiff alleges that “the failure




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of the United States urgently to facilitate the return of Ms. Muthana and her son will cause

immediate and irreparable harm by jeopardizing their ability in the future to return to the United

States.” Id. ¶ 3. As a result of this alleged harm, Plaintiff claims that an expedited hearing is

appropriate because “extreme damage will result to the interests of Plaintiff Ahmed Ali Muthana,

and the interests of Hoda Muthana and Minor John Doe.” Id. at 2 ¶ 4.

       On February 26, this Court issued a minute order directing the parties to appear “for a

hearing on the plaintiff’s Expedited Complaint for Declaratory Judgment, Injunctive Relief and

Petition for Writ of Mandamus on March 4, 2019.” Feb. 26, 2019 Minute Order.

       On February 28, Plaintiff sought leave to file a memorandum of law in support of the

complaint. Motion for Leave, ECF No. 9. On March 1, this Court granted the motion for leave

and issued a minute order stating that “the defendants shall file a response to the plaintiff’s

Complaint, if any, on or before March 4, 2019, at 8:00 a.m.” Mar. 1, 2019 Minute Order.

                                             Argument

       The Court should deny all of the relief that Plaintiff requests and should handle this case

in the normal course rather than on the expedited course that Plaintiff has urged. Although

Defendants will at the time specified under the Federal Rules of Civil Procedure submit a

comprehensive response to Plaintiff’s complaint, at this point several points are clear. First, all of

Plaintiff’s claims on Muthana’s behalf are profoundly flawed because Muthana is not, and never

was, a U.S. citizen. Settled law regarding the citizenship of children born to diplomats—and the

undisputed course of relevant events—conclusively show this, as the State Department informed

Muthana over three years ago. Because all claims for relief for Muthana rest on the demonstrably

wrong claim that she is a U.S. citizen, this threshold point resolves Plaintiff’s case. Second, the

equities in this case defeat any claim for emergency relief or for expedited treatment. The




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government formally advised Muthana years ago that she was not and had never been a U.S.

citizen. Muthana failed to act in response to that notification. Plaintiff errs in attempting to

transform Muthana’s own inaction and acquiescence into a purported “emergency” that is the

result of her own decision to enter Syria and join a foreign terrorist organization. The equities are

far too lopsided in this case for the Court to grant any relief to Plaintiff—particularly in a way that

truncates the time needed to fully address the many flaws in Plaintiff’s case. Third, the complaint

is profoundly flawed for still other reasons. Although the government does not purport to address

these flaws fully here—it will do so in the appropriate filing afforded to it under the Civil Rules—

it notes just a few of these flaws below: Plaintiff has failed to establish that he may bring this suit

on a next-friend theory; the United States has not waived its sovereign immunity; settled principles

of equity bar the Court from granting the injunctive, declaratory, or mandamus relief that Plaintiff

seeks; Plaintiff and Muthana have failed to use the appropriate processes for the sort of claims that

Plaintiff now makes; and Plaintiff lacks standing bring a claim on the material-support-of-

terrorism statute. Finally, Plaintiff’s litigation tactics should give this Court serious pause.

Plaintiff has taken a highly unorthodox approach that seems aimed at papering over the flaws in

his lawsuit and at improperly benefiting from expedited consideration. Plaintiff should not benefit

from his inappropriate tactical efforts to present his baseless claims for relief. The Court should

not truncate the normal period permitted under Federal Rule of Civil Procedure 12 to respond to

the complaint and should return this case to the normal civil process.

       A.      The Court Should Not Grant Any Relief to Plaintiff—His Claims Are
               Profoundly Flawed Because Muthana Is Not and Was Never a U.S. Citizen

       Although the United States will present its full set of arguments and defenses at the

appropriate time, for purposes of the March 4 hearing the government emphasizes that the Court

should not grant any relief to Plaintiff because his claims are, on their face, profoundly flawed.



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All claims on Muthana’s behalf rest on a fundamental and dispositive error—the assertion that

Muthana is a U.S. citizen. She is not and never was a U.S. citizen. She was born to parents who

enjoyed diplomatic-agent-level immunity at that time of her birth, so she was born not subject to

the jurisdiction of the United States, and did not and could not acquire U.S. citizenship at birth. 2

       The Fourteenth Amendment to the U.S. Constitution confers citizenship only on persons

“born or naturalized in the United States, and subject to the jurisdiction thereof.” U.S. Const.

amend. XIV, § 1 (emphasis added); see also 8 U.S.C. § 1401(a). The Supreme Court has long

held that the phrase “subject to the jurisdiction” excludes children of foreign ministers or

diplomatic officers born within the United States from operation of the citizenship clause of the

Fourteenth Amendment. Slaughter-House Cases, 83 U.S. 36, 73 (1872) (phrase “was intended to

exclude from its operation children of ministers, consuls, and citizens or subjects of foreign States

born within the United States”); United States v. Wong Kim Ark, 169 U.S. 649, 693 (1898) (“[t]he

Fourteenth Amendment affirms the ancient and fundamental rule of citizenship by birth within the

territory” “with the exceptions or qualifications (as old as the rule itself) of” (among other

exceptions) “children of foreign sovereigns or their ministers”); Nikoi v. Attorney Gen., 939 F.2d

1065, 1066 (D.C. Cir. 1991) (“Because one parent was a foreign official with diplomatic immunity

when each child was born, the birth did not confer United States citizenship.”); see also 8 C.F.R.

§ 101.3(a)(1) (“A person born in the United States to a foreign diplomatic officer accredited to the


2
  Because A.M.’s claims of citizenship would be resolved by virtue of Muthana’s lack of
citizenship, the government does not separately discuss the claim, Count 6, Compl. ¶¶ 86-92,
brought by Plaintiff solely on his behalf.
Because Muthana and her parents enjoyed diplomatic-agent-level immunity at the time of her
birth, it is not necessary to reach the argument advanced by amicus that, absent that status, Muthana
still would not be a U.S. citizen because her parents were not legal permanent residents. See Brief
of Amicus Curiae Center for Constitutional Jurisprudence, ECF No. 11-1 (filed Mar. 1, 2019).
Only if the Court were to conclude that her parents did not enjoy the relevant immunity would it
become necessary to consider that argument.


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United States, as a matter of international law, is not subject to the jurisdiction of the United States.

That person is not a United States citizen under the Fourteenth Amendment to the Constitution.”). 3

        Under the Vienna Convention, “recognition and certification by the State Department is

necessary to establish diplomatic immunity.” United States v. Kuznetsov, 442 F. Supp. 2d 102,

106 (S.D.N.Y. 2006), the corollary is also true—the State Department must receive notification of

termination in order to determine when to stop affording privileges and immunities to a diplomatic

agent. Article 39 of the Vienna Convention states that “[e]very person entitled to privileges and

immunities shall enjoy them from the moment he enters the territory of the receiving State on

proceeding to take up his post or, if already in its territory, from the moment when his appointment

is notified to the Ministry for Foreign Affairs or such other ministry as may be agreed.” Vienna

Convention, art. 39(1); see also Raya v. Clinton, 703 F. Supp. 2d 569, 578 (W.D. Va. 2010) (“[T]he

Vienna Convention requires sending countries to provide formal notice of a diplomatic agent’s

appointment and termination, and specifically states that an agent’s diplomatic functions come to

an end on notification of termination by the sending country.”). Article 37 extends the privileges

and immunities specified in Articles 29 to 36 to “members of the family of a diplomatic agent

forming part of his household.” Id. art. 37(2).

        The Vienna Convention requires that the sending state notify the receiving state of “[t]he

appointment of members of the mission, their arrival and their final departure or the termination

of their functions with the mission.” Vienna Convention, art. 10(1)(a). At the United Nations, the



3
 Plaintiff incorrectly argues that the immigration status of Basmeh M. Elshayri, Muthana’s mother,
is relevant to the question whether Muthana acquired U.S. citizenship at birth. As a non-U.S.
national member of Plaintiff’s household, Elshayri also enjoyed diplomatic-agent-level immunity.
Vienna Convention, art. 37(1) (“The members of the family of a diplomatic agent forming part of
his household shall, if they are not nationals of the receiving State, enjoy the privileges and
immunities specified in Articles 29 to 36”).


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diplomat’s sending state sends a notification of appointment to the United Nations Office of

Protocol. Declaration of James B. Donovan (Mar. 3, 2019) ¶ 3. After accepting the accreditation,

the United Nations Office of the Protocol then sends a notification of appointment to the USUN.

Donovan Decl. ¶¶ 4, 5. The United Nations uses the same process to send a notification of

termination to the USUN. Donovan Decl. ¶¶ 12-14. Courts have recognized that because foreign

policy is the province and responsibility of the Executive Branch, the Department of State has

broad and nearly exclusive authority to set the conditions for when the United States affords

diplomatic privileges and immunities. See Tachiona v. United States, 386 F.3d 205, 213 (2d Cir.

2004).

         Under established law that has been consistent for over a century, when the Department of

State certifies the diplomatic status of an individual, “the courts are bound to accept that

determination.” Abdulaziz, 741 F.2d at 1339. The “certificate of the secretary of state . . . is the

best evidence to prove the diplomatic character of a person.” In re Baiz, 135 U.S. 403, 421 (1890);

see also United States v. Al-Hamdi, 356 F.3d 564, 573 (4th Cir. 2004) (“[W]e hold that the State

Department’s certification, which is based upon a reasonable interpretation of the Vienna

Convention, is conclusive evidence as to the diplomatic status of an individual. Thus, we will not

review the State Department’s factual determination that, at the time of his arrest, Al-Hamdi fell

outside the immunities of the Vienna Convention.”). The Fourth Circuit noted in Al-Hamdi that

“it appears that no reviewing court has ever held that the State Department’s certification is

anything but conclusive.” 356 F.3d at 572.

         Under these principles, it is clear that Muthana is not and never was a U.S. citizen—and

thus none of the relief sought for her can be granted.




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       First, the attached State Department certification—which addresses Plaintiff’s diplomatic

status at the time of Muthana’s birth—conclusively establishes that Muthana did not acquire U.S.

citizenship at birth. Donovan Certification. This certification shows: that the United States was

not officially notified of Plaintiff’s termination until February 6, 1995; that the Muthana family

continued to enjoy diplomatic-agent-level immunity until that date; and that Muthana therefore

was not eligible to become—and did not become—a U.S. citizen based on her birth in the United

States. Donovan Certification. This certification ends the factual inquiry into the matter. See

Abdulaziz, 741 F.2d at 1331 (“[O]nce the United States Department of State has regularly certified

a visitor to this country as having diplomatic status, the courts are bound to accept that

determination.”).

       Second, although the State Department’s certification of Plaintiff’s status is dispositive

under the law, it is based upon contemporaneous evidence that shows conclusively that the USUN

received official notification of Plaintiff’s termination on February 6, 1995. Donovan Decl. ¶ 18,

Ex. 1 KARDEX. As explained in the Donovan Declaration, at the relevant time the USUN

maintained its privileges-and-immunities records in what was known as a KARDEX system, in

which each accredited diplomat had a card reflecting relevant information. Id. ¶¶ 7-11. The

KARDEX card for Plaintiff (Exhibits 1) are clearly annotated to record the termination of this

diplomatic-agent-level privileges and immunities as of February 6, 1995. Id. Ex. 1 KARDEX.

       Further, Plaintiff’s card also reflects an annotation recording the birth of Muthana, with her

place and date of birth. Id. Ex. 1 KARDEX. This annotation is significant for two reasons. First,

the same notification that applies for the appointment, arrival, and termination of diplomats is used

to notify the USUN of the addition of persons to a diplomat’s household is made through the same

notification process, to ensure that the United States, as the host nation, has an accurate record of




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who enjoys diplomatic privileges and immunities at any given time. Id. ¶¶ 9-11. Second, this

annotation is significant because it indicates that the staff at the USUN, at the time they received

notification of Muthana’s birth, were according Plaintiff diplomatic-agent-level immunity, since

there would have been no reason to annotate the card to reflect the addition of a new child if the

individual, i.e., Plaintiff, were not then enjoying such privileges and immunities. Id. ¶ 19.

       Nothing in Plaintiff’s complaint conflicts with these facts. The complaint alleges that

Plaintiff—Muthana’s father—served as First Secretary from October 15, 1990, until sometime in

1994. Compl. ¶¶ 20, 21, Ex. D. But the complaint does not address the date that is relevant to the

issue here—the date when the United States received official notification of Plaintiff’s termination

as First Secretary. Plaintiff’s diplomatic-agent-level immunity—and that of his family members

forming part of his household—continued until February 6, 1995, when the Department of State

was notified of his termination. Id. On                , 1994, Muthana was born with diplomatic-

agent-level immunity because she was a member of the household of her father, id. ¶ 21, and

because the United Nations did not notify the USUN until February 6, 1995, of his termination,

her father held diplomatic-agency-level immunity at the time of her birth. Under the Vienna

Convention, “[t]he function of a diplomatic agent comes to an end, inter alia, (a) on notification

by the sending State to the receiving State that the function of the diplomatic agent has come to an

end . . . .” Vienna Convention, art. 43 (emphasis added).

       Reliance on the date of official notification is critical to our foreign relations. The Supreme

Court has emphasized “the concept of reciprocity that governs much of international law” on

diplomatic privileges and immunities, as well as other strong reasons “to protect foreign diplomats

in this country”: “Doing so ensures that similar protections will be accorded those that we send

abroad to represent the United States, and thus serves our national interest in protecting our own




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citizens. Recent history is replete with attempts, some unfortunately successful, to harass and harm

our ambassadors and other diplomatic officials. These underlying purposes combine to make our

national interest in protecting diplomatic personnel powerful indeed.” Boos v. Barry, 485 U.S.

312, 323-24 (1988). By relying on the date of official notification of termination, the United States

preserves the foreign government’s control over when its emissaries’ functions and immunity ends

(absent bad acts by the emissary resulting in expulsion). This is critical in preserving our ability

to determine when the functions of our mission members end. For example, the United States

would not want a foreign state to determine—without notification from the United States—that

one of our mission members no longer is employed by the Embassy or to commence criminal

prosecution based on its own determination of employment by the United States.

       It is far more intrusive and problematic for foreign countries to be probing into the

diplomatic status of foreign officials, and relying on the date of notification of termination is a

critical component of avoiding such issues. Further, the State Department relies on the official

notification date as determinative of when immunity ends to ensure uniform application of the

Vienna Convention in all cases and because it is a bright-line rule to address a matter that could

otherwise devolve into a protracted investigation concerning the facts and circumstances

surrounding an actual termination date. It would be arbitrary and capricious not to adhere to the

express provision of the Vienna Convention stating that diplomatic immunity comes to an end

upon official notification of termination. Moreover, the reliance on the date of notification ensures

that mission personnel are protected. Thus, if Plaintiff had (for example) been detained by a U.S.

law enforcement officer before February 6, 1995, the United States would have afforded him

immunity from arrest and prosecution in accordance with the Vienna Convention, because he was

entitled to such privileges and immunities until the United Nations officially notified the USUN




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of his termination—a notification that occurred on February 6, 1995. The United States expects

that kind of protection for its own diplomatic agents accredited to a foreign state, and therefore the

United States must provide that same protection for foreign diplomatic agents in the United States.

Tabion, 877 F. Supp. at 293.

        Under settled law and the undisputed course of events, then, Muthana was born to a father

with diplomatic-agent-immunity and she, like her father, was not “subject to the jurisdiction” of

the United States. As a result she did not acquire U.S. citizenship at birth.

        In support of his argument that diplomatic-agent-level immunity “last[s] only as long as

the diplomatic position itself,” Plaintiff points to a 2004 letter completed by Russell F. Graham, a

minister counselor at USUN. Compl. Ex C.4 In the letter, Mr. Graham notes two dates: Plaintiff’s

date of appointment, October 15, 1990, and date of termination, September 1, 1994. Id. While

Plaintiff asserts that the termination date on this letter is erroneous and that Plaintiff was terminated

in June 1994, Compl. ¶¶ 18, 29, the government does not contend that the date of termination

occurred after Muthana’s birth. Rather, the government maintains that Plaintiff errs in attaching

the legal significance that he does to the date of his termination. His view is irreconcilable with

the Vienna Convention’s Article 43, which provides that “[t]he function of a diplomatic agent

comes to an end, inter alia, (a) on notification by the sending State to the receiving State that the

function of the diplomatic agent has come to an end . . . .” Plaintiff is thus wrong when he alleges

that, “[a]s a matter of law, Mr. Muthana’s termination from his diplomatic position no later than

September 1, 1994 and his subsequent decision to remain in the United States within a reasonable



4
 Plaintiff alleges that he provided the government with a copy of the 2004 letter in support of
Muthana’s 2005 passport application. Compl. ¶ 21. But the letter is addressed to “Bureau of
Citizenship and Immigration Services,” id., Ex. C, which is a component of the Department of
Homeland Security and has no role in passport issuance.


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period of time terminated his diplomatic immunity.” Compl. ¶ 42. Indeed, Plaintiff acknowledges

that the United Nations notified the USUN on February 6, 1995. Compl. ¶ 21, Ex. D.

       To support his incorrect claim of the legal significance of the date of termination, Plaintiff

cites United States v. Khobragade, 15 F. Supp. 3d 383 (S.D.N.Y. 2014), and United States v.

Guinand, 688 F. Supp. 774 (D.D.C. 1988). Compl. ¶ 41. But neither case addressed the distinction

between the date a person was terminated and the date the United States was notified of

termination. In Khobragade, the defendant was a member of the Indian permanent mission to the

United Nations with diplomatic-agent-level immunity, who after being indicted for a crime

departed the United States. 15 F. Supp. 3d at 386. The case does not address the issue here—the

legal significance of the termination date—and does not find that diplomatic immunity under the

Vienna Convention ends upon termination. Id. In Guinand, the court also did not address the date

of notification of termination, but simply stated as a general matter—in addressing a diplomat who

was fired after engaging in drug dealing—that U.S. jurisdiction may be exercised “over persons

whose status as members of the diplomatic mission has been terminated for acts they committed

during the period in which they enjoyed privileges and immunities,” Guinand, 688 F. Supp. at 775.

       Lastly, the 2004 letter does not purport to state or analyze when Plaintiff’s diplomatic

privileges ended—nor did it address the situation here, namely, Plaintiff’s status between

September 1, 1994 and the date of notification of termination of February 6, 1995. Instead, the

latter stated, correctly, that diplomatic privileges existed during his period of employment, and

made no assessment of the period at issue in this suit. Rather than this letter, the official

government record showing when Plaintiff’s diplomatic privileges terminated—the certification

submitted herewith, supported by the contemporaneous record, KARDEX, which shows when the




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United Nations notified the USUN of Plaintiff’s termination—establishes that his diplomatic

privileges ended on February 6, 1995.

       B.      The Equities Weigh Overwhelmingly Against Granting Any Relief or
               Expediting this Case

       On top of the central flaw just addressed, the equities in this case defeat any claim for

emergency relief or even for expedited treatment. The government informed Muthana more than

three years ago that she is not a citizen and cancelled her erroneously issued passport. Muthana—

who was at the time a member of ISIS—failed to act timely in response to that notification,

remained in a war zone through hostilities for a period of years. Plaintiff should not now be

permitted to turn Muthana’s own delay and acquiescence—not to mention her decision to join a

foreign terrorist organization in Syria—into an emergency requiring special solicitude for granting

her a speedy hearing and speedy relief. It is Muthana’s actions in joining ISIS—and not her

citizenship status—that have led to her current predicament of being detained by Kurdish forces,

and this Court could not direct the government to seek a diplomatic negotiation for her release.

The equities are far too lopsided in this case for the Court to grant any relief or to curtail the time

needed to fully address the many flaws in Plaintiff’s case.

       First, the purported emergency in this case is the result of Muthana’s voluntary conduct in

going to Syria and joining ISIS, not the decision of the U.S. government on her citizenship status.

Cf. Livonia Props. Holdings, LLC v. 12840-12976 Farmington Road Holdings, 399 F. App’x 97,

104 (6th Cir. 2010) (“[S]elf inflicted harm is not the type that injunctions are meant to prevent.”).

On or about October 2014, Muthana left the United States and freely joined a foreign terrorist

organization in Syria. Compl. ¶¶ 22, 23 n.3, 24. She and her son have ended up in the custody of

foreign armed forces because she joined ISIS. Muthana is in foreign custody due to her own

actions in a theater of war. Plaintiff now claims an emergency need for the United States



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Government to act for Muthana’s release from Kurdish custody, but that purported emergency is

of Muthana’s own making. Moreover, the purported emergency here is a result of Muthana’s

failure to act much sooner. Cf. San Francisco Real Estate Investors v. Real Estate Inv. Trust of

Am., 692 F.2d 814, 818 (1st Cir. 1982) (the plaintiff’s harm was largely self-inflicted and,

therefore, “it was not only not irreparable in the absence of the district court’s order, but entirely

avoidable”). In January 2016—over three years ago—Muthana was informed that the United

States revoked her passport because she was not and had never been a citizen, and the prior

passport had been issued in error. Compl. Ex. D. Despite being advised of the steps to contest the

decision, Muthana took no steps to contest that determination in court (or otherwise) or to press

the theories of imminent harm now being pursued. Id., Ex. D. Moreover, Muthana has a

congressionally mandated remedy for a person in her circumstances. 8 U.S.C. § 1503(b) (“If any

person who is not within the United States claims a right or privilege as a national of the United

States and is denied such right or privilege . . . upon the ground that [s]he is not a national of the

United States, such person may make application . . . for a certificate of identity”). Contrary to

Plaintiff’s gross mischaracterization, the State Department did not “revoke” Muthana’s

citizenship. Compl. Ex. D. Rather, the Department of State simply revoked her passport and

explained that it had been issued in error because Muthana had never been a U.S. citizen to begin

with. Compl. Ex. D; see Chacoty v. Tillerson, 285 F. Supp. 3d 293, 298 (D.D.C. 2018) (while an

unexpired U.S. passport is proof of U.S. citizenship, passports “do not confer citizenship; rather

they merely provide proof of one’s status as a citizen”); see also 8 U.S.C. § 1504(a) (“The

cancellation under this section of any document purporting to show the citizenship status of the

person to whom it was issued shall affect only the document and not the citizenship status of the

person in whose name the document was issued.) (emphasis added). Moreover, Plaintiff has not




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followed the process Congress provided in 8 U.S.C. § 1503(b), which “comprises ‘both agency

obligations and a mechanism for judicial enforcement.’” Hinojosa v. Horn, 896 F.3d 305, 312

(5th Cir. 2018) (quoting Citizens for Responsibility & Ethics in v. U.S. Dep’t of Justice, 846 F.3d

1235, 1245 (D.C. Cir. 2017). 5 It is manifestly inappropriate for Plaintiff now to seek emergency

judicial relief on critical issues—including questions regarding the U.S. citizenship of someone

who is acknowledged to have joined ISIS—when Muthana long ago could have pursued available

avenues for relief.

       Second, irrespective of Muthana’s citizenship status, this Court could not provide any of

the extraordinary relief that Plaintiff seeks. In particular, the Court could not require the United

States to take diplomatic action to obtain her release from foreign custody. “[T]he Constitution

plainly grants the President the initiative in matters directly involved in the conduct of diplomatic

affairs,” and this Court cannot “compel the Secretary of State to initiate negotiations with foreign

nations.” Earth Island Inst. v. Christopher, 6 F.3d 648, 653 (9th Cir. 1993) (rejecting request for

court “to compel the Secretary of State to initiate negotiations with foreign nations”) (internal

quotation marks omitted); see Haitian Refugee Ctr. v. Civiletti, 503 F. Supp. 442, 470 (S.D. Fla.

1980) (“This court could no more order the President to sign a treaty or the Secretary of State to

negotiate an international agreement than the President could direct the court to decide an issue in

his favor.”) (citing United States v. Nixon, 418 U.S. 683, 704-05 (1974)). 6 It is not uncommon for


5
  Cf. Rusk v. Cort, 369 U.S. 367 (1962), abrogated in part by Califano v. Sanders, 430 U.S. 99
(1977). In Rusk, the Supreme Court allowed the plaintiff to bypass 8 U.S.C. § 1503 and to bring
an Administrative Procedure Act (APA) claim to challenge a passport denial. Id. at 379-80. But
Califano rejected Rusk’s finding that the APA is a jurisdiction-conferring statute. 430 U.S. at 105.
In any event, Plaintiff has not brought a claim under the APA here.
6
  See also Chicago & Southern Air Lines, Inc. v. Waterman S.S. Corp. Civil Aeronautics Board,
333 U.S. 103, 111 (1947) (“[E]xecutive decisions as to foreign policy . . . are wholly confided by
our Constitution to the political departments of the government, Executive and Legislative. They
are delicate, complex, and involve large elements of prophecy. They are and should be undertaken


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U.S. persons to find themselves in jeopardy abroad—and indeed joining ISIS is certainly the type

of action that anyone would expect to lead to severe and foreseeable consequences. In those

circumstances, U.S. courts have stayed their hand when their intervention is requested. Cf. Munaf

v. Geren, 553 U.S. 674 (2008) (declining to stop the U.S. military forces from transferring a U.S.

citizen to Iraqi criminal custody).

       Third, Plaintiff’s claim that Muthana may suffer harm without judicial intervention is—

like her claims for relief—speculative. See Tozzi v. EPA, 148 F. Supp. 2d 35, 38 (D.D.C. 2001)

(“speculative harm is not sufficient to constitute irreparable harm”). Plaintiff’s stated need for

expedited relief is the United States’ pending withdrawal from Syria, which will purportedly

“jeopardiz[e]” Muthana and A.M.’s “ability in the future to return to the United States.” Mot. ¶¶ 3,

4. Plaintiff bases this asserted emergency on the suggestion that the United States will not be able

to negotiate with the Kurds after the United States withdraws. Id. ¶ 3. That is pure conjecture.

Even crediting Plaintiff’s erroneous claim that Muthana is a U.S. citizen, Plaintiff offers no support

for why the United States would lose an ability to negotiate the return of a citizen if the United

States is not physically present in Syria. Plaintiff has not pleaded any plausible facts suggesting

that that Muthana’s purported prospect of release is in imminent danger.

       These are just some of the equity-laden reasons why the Court cannot and should not grant

any relief to Plaintiff. These reasons also show why expedited treatment is not warranted and this

case should be handled in the normal course. The United States should be afforded the ordinary

time to respond to the complaint so that it can fully marshal the arguments on the many claims




only by those directly responsible to the people whose welfare they advance or imperil. They are
decisions of a kind for which the Judiciary has neither aptitude, facilities nor responsibility and
have long been held to belong in the domain of political power not subject to judicial intrusion or
inquiry.”) (citations omitted).


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raised by Plaintiff. The stakes are too high in this case—which involves important matters of

diplomatic immunity, citizenship, and foreign relations—to accelerate this case through the courts

without a full opportunity for the United States to present all arguments for why Plaintiff is plainly

not entitled to any relief.

        C.      Plaintiff’s Claims Are Flawed for Other Reasons

        Plaintiff’s claims are severely flawed for still other reasons. The government identifies

some of those flaws now, and will address others, if necessary, at the appropriate time.

                1.      Plaintiff Has Not Satisfied the Requirements for Next-Friend Status

        To start, Plaintiff fails to establish that he can bring suit on Counts 1 through 8. He seeks

to proceed as “next friend” to assert these eight claims on Muthana’s behalf. Compl. ¶¶ 39-116

(Counts 1-8). But he has not established that he can proceed on that basis.

        Next-friend standing—which allows someone to file a claim on someone else’s behalf—is

“by no means granted automatically to whomever seeks to pursue an action on behalf of another.”

Whitmore v. Arkansas, 495 U.S. 149, 163 (1990); see also Al-Aulaqi v. Obama, 727 F. Supp. 2d

(D.D.C. 2010) (denying next-friend standing when putative next friend could not show that the

person on whose behalf the action was brought—who was overseas—lacked access to the courts).

Rather, consistent with Article III, a litigant who asserts next-friend standing bears the burden of

“clearly . . . establish[ing] the propriety of his status and thereby justify[ing] the jurisdiction of the

court.” Id. at 164. To meet this burden, a purported next friend must satisfy “two firmly rooted

prerequisites” to have standing.        First, a putative next friend must provide an adequate

explanation—such as inaccessibility, mental incompetence, or other disability—why the real party

in interest cannot appear on his own behalf to prosecute the action. Second, the putative next

friend must be truly dedicated to the best interests of the person on whose behalf he seeks to




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litigate, and it has been further suggested that a next friend must have some significant relationship

with the real party in interest. Id. at 163-64. The next friend does not become a party to the case,

“but simply pursues the cause on behalf of the [incompetent or unavailable party], who remains

the real party in interest.” Id. at 163. “For that reason, the ‘next friend’ application has been

uncommonly granted.” Lehman v. Lycoming County Children’s Servs. Agency, 458 U.S. 502, 523

(1982). “If there were no restriction on ‘next friend’ standing in federal courts, the litigant

asserting only a generalized interest in constitutional governance could circumvent the

jurisdictional limits of Art. III simply by assuming the mantle of ‘next friend.’” Whitmore, 495

U.S. at 164.

       Plaintiff has not established either prerequisite to next-friend status. He does not seek such

status based on any recognized category. He has not invoked any applicable statute or rule

authorizing his next-friend status. Compare Compl. with, e.g., Fed. R. Civ. P. 17(c)(2) (providing

that a “[a] minor or an incompetent person who does not have a duly appointed representative may

sue by a next friend”), and Whitmore, 495 U.S. at 164 (noting that next friends are authorized to

appear in the habeas corpus context pursuant to federal statute, see 28 U.S.C. § 2242 (2010 ed.)).

Plaintiff’s sole basis for claiming next-friend status is Muthana’s “limited or inconsistent access

to the internet or the communications, and . . . difficulty with communicating with counsel.”

Compl. ¶¶ 8, 9. But he acknowledges that counsel and Plaintiff have received “communications”

from Muthana. Id. ¶ 9. Indeed, Plaintiff acknowledges that Muthana has “repeatedly [been

interviewed] by Western news media.” Memorandum of Law, ECF No. 9-2 at 22 n.69. This Court

should not expand the concept of next-friend standing beyond what any other federal court appears

to have accepted or the Federal Rules of Civil Procedure authorize. Plaintiff lacks standing to

bring Counts 1 through 8 as next friend.




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               2.     The United States Has Not Waived Sovereign Immunity

       The United States is “immune from suit save as it consents to be sued.” United States v.

Sherwood, 312 U.S. 584, 586 (1941). “It is axiomatic that the United States may not be sued

without its consent and that the existence of consent is a prerequisite for jurisdiction.” United

States v. Mitchell, 463 U.S. 206, 212 (1983). The consent must be “unequivocally expressed.”

United States v. Nordic Village, Inc., 503 U.S. 30, 33-34, (1992). “The doctrine of sovereign

immunity, then, bars suits against the United States unless immunity specifically is waived by

statute.” Johnson v. Williams, 699 F.Supp.2d 159, 165 (D.D.C. 2010) (citing Sherwood, 312 U.S.

at 586). Where, as here, a plaintiff has not asserted any waiver of sovereign immunity, a court

must dismiss the action for lack of subject-matter jurisdiction. Gilbert v. DaGrossa, 756 F.2d

1455, 1458 (9th Cir. 1985). A party bringing a suit bears the burden of establishing jurisdiction.

KVOS, Inc. v. Assoc. Press, 299 U.S. 269, 278 (1936).

       In his complaint, Plaintiff has asserted that this Court has jurisdiction over Counts 1

through 6 solely under 28 U.S.C. § 1331—not the APA or any other statute that does supply a

cause of action in certain circumstances. Compl. ¶ 11. This assertion lacks a supportable legal

basis. Section 1331 merely provides district courts with original jurisdiction, rather than subject

matter jurisdiction, over certain federal actions; the section does not provide the waiver of

sovereign immunity necessary to proceed with an action against the federal government. See

Historic Eastern Pequots v. Salazar, 934 F. Supp. 2d 272, 282 n. 10 (D.C. Cir. 2013) (section 1331

“does not provide a waiver of sovereign immunity”). This section, therefore, simply offer

remedies in cases where jurisdiction already exists; neither provides an independent basis for

jurisdiction. Skelley Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671 (1950). Because

Plaintiff has failed to meet his burden to show that the government has consented to a suit—indeed,




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the government has not so consented—Plaintiff has failed to plead that this Court has jurisdiction

over Counts 1 through 6.

               3.      The Court Cannot Grant Citizenship in Equity or Treat Someone as a
                       Citizen on Equitable Theories

       There is no legal basis for affording someone citizenship based on an exercise of equitable

authority. For that reason, there is no basis for Plaintiff’s Counts 4 and 5, Compl. ¶¶ 67-85, which

claim that the United States is equitably estopped from asserting that Muthana is not a U.S. citizen.

For the same reason, it would also not be appropriate to enter preliminary relief based on a

likelihood-of-success standard on the citizenship question.

       The law squarely precludes courts from exercising equitable discretion in a matter that

would contravene statutory authority regarding citizenship. Congress has explicitly set—by

statute—the conditions under which U.S. citizenship is conferred at birth, including for those

persons “born in the United States, and subject to the jurisdiction thereof.” 8 U.S.C. § 1401. Once

a court determines that a person does not meet the statutory requirements for conferring U.S.

citizenship, “the district court has no discretion to ignore the defect and grant citizenship.”

Fedorenko v. United States, 449 U.S. 490, 517 (1981) (internal citation omitted). “Neither by

application of the doctrine of estoppel, nor by invocation of equitable powers, nor by any other

means does a court have the power to confer citizenship in violation of [Congressionally imposed]

limitations.” INS v. Pangilinan, 486 U.S. 875, 885 (1988).

       Here, however, Plaintiff asks the Court to wield such purported equitable authority—to

disregard statute and controlling case law and instead make a determination on citizenship based

on claimed “extraordinary circumstances.” Compl. ¶ 69. The Court should reject this request. It

is because Plaintiff cannot satisfy the governing requirement—that Muthana must have been

“subject to the jurisdiction” of the United States at the time of her birth in order to acquire U.S.



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citizenship—that Plaintiff raises an equitable cause of action. See supra, Part A. Neither “the

doctrine of estoppel” nor “the invocation of equitable powers” enables this Court “to confer

citizenship in violation of [Congressionally imposed] limitations.” Pangilinan, 486 U.S. at 885.

        Plaintiff also alleges that “[j]urisdiction is further proper under the general equity

jurisdiction granted by 28 U.S.C. § 1331(a).” Compl. ¶ 11. But as discussed above, a court cannot

use its discretionary authority to overcome a plaintiff’s inability to meet the congressionally

imposed conditions for citizenship. See Pangilinan, 486 U.S. at 885. Therefore, this Court lacks

general equity jurisdiction under 28 U.S.C. § 1331 to grant the relief sought in Counts 4 and 5.

United States v. Philip Morris USA, Inc., 396 F.3d 1190, 1197 (D.C. Cir. 2005) (We will not

expand upon our equitable jurisdiction if, as here, we are restricted by the statutory language, but

may only assume broad equitable powers when the statutory or Constitutional grant of power is

equally broad.”).

                4.     Plaintiff Lacks Standing to Bring a Claim for Declaratory Relief on
                       His Claim Regarding 18 U.S.C. § 2339B

        In Count 9, Plaintiff requests that this Court grant him a declaratory judgment that certain

potential future conduct will not violate 18 U.S.C. § 2339B. Compl. ¶¶ 117-28. The Court should

reject this claim.

        First, Plaintiff has not established standing on this claim. To seek a declaratory judgment,

a party must establish Article III standing. See Public Service Com. v. Wycoff Co., 344 U.S. 237,

242 (1952). Count 9 request is based on a hypothetical set of necessarily incomplete facts and

speculation. See Compl. ¶¶ 123-27 (alleging that Muthana is no longer a member of ISIS, has

ceased support for ISIS, and would use the money to travel). Such speculation is insufficient to

establish standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992) (“the plaintiff

must have suffered an injury in fact . . . not conjectural or hypothetical”).



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        Second, Plaintiff improperly seeks an advisory opinion. Any declaratory judgment would

be based on hypothetical facts regarding unknowable conduct, events, and matters of intent. See

Ashwander v. Tennessee Valley Authority, 297 U.S. 288, 325 (1936) (the “controversy” must

necessarily be “of a justiciable nature, thus excluding an advisory decree upon a hypothetical state

of facts.”). Plaintiff hypothesizes that Muthana is no longer a member of ISIS or engaging in

terrorist activities in support of ISIS, Compl. ¶ 125, and asks this Court to accept this allegation as

true and bless his providing support to her based on that hypothetical state of affairs, id. ¶¶ 126-

28. But the Court does not know and cannot know if these allegations are true or would be true in

the future. This Court therefore cannot provide the advisory opinion that he seeks. See Schuler v.

PricewaterhouseCoopers, LLP, 595 F.3d 370, 377 (D.C. Cir. 2010) (“a federal court does not have

jurisdiction to issue an advisory opinion.”) (citing Flast v. Cohen, 392 U.S. 83, 95, (1968) (“no

justiciable controversy is presented . . . when the parties are asking for an advisory opinion”).

Plaintiff also does not allege a constitutional right to transfer money abroad to an adult child.

Plaintiff’s claim therefore falls outside the narrow category of pre-enforcement challenges that

may be brought, where a plaintiff alleges “an intention to engage in a course of conduct arguably

affected with a constitutional interest, but proscribed by a statute, and there exists a credible threat

of prosecution thereunder.” Babbitt v. Farm Workers, 442 U. S. 289, 298 (1979) (emphasis

added). Plaintiff has not established that he can bring Count 9, and the Court cannot grant

declaratory relief on that Count. See Public Service Com. v. Wycoff Co., 344 U.S. 237, 242 (1952)

(declaratory-judgment statute was held constitutional “only by interpreting it to confine the

declaratory remedy within conventional ‘case or controversy limits’”).




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        D.      Plaintiff’s Litigation Decisions Give Reason for Serious Pause, and the Court
                Should Afford the Government the Full Rights and Procedures Granted to It
                Under the Federal Rules.

        Plaintiff’s litigation tactics should give this Court serious pause. He has taken a highly

unorthodox approach that seems aimed at papering over the profound flaws in his lawsuit and at

improperly benefiting from expedited consideration. Plaintiff has filed an “expedited complaint”

based on a speculative and manufactured emergency. He sought a speedy hearing under Federal

Rule of Civil Procedure 57, which addresses only declaratory judgments, Fed. R. Civ. P. 57 (“The

court may order a speedy hearing of a declaratory-judgment action.”), yet the bulk of his complaint

does not seek declaratory relief. Compare Compl. Counts 3 & 9, with Counts 1, 2, & 4-8. Plaintiff

has not filed any motion for substantive relief, see, e.g., Fed. R. Civ. P. 65, but has instead filed an

unorthodox memorandum of law. See Memo. of Law. Plaintiff, as next of friend, does not plead

any actual causes of action. See Compl. ¶¶ 39-116.

        Plaintiff should not benefit from his highly unorthodox tactical efforts to present these

baseless claims for relief, which grossly mischaracterize the government’s revocation of a passport

of a non-citizen, on an emergency track that does not respect the importance of the issues involved.

As already explained, the Court should not truncate the normal period permitted under Federal

Rule of Civil Procedure 12 to respond to the complaint and should return this case back to the

normal civil process.

        The government notes one final matter. The government has been clear that it is filing this

brief to address the Court’s March 1 minute order to respond to the expedited complaint, and is

not waiving its right to serve an answer, see Fed. R. Civ. P. 12(a)(2), or to present defenses in a

motion, see Fed. R. Civ. P. 12(b), is not waiving any defenses or claims or arguments, and is not

waiving its right to file any other submission to which the Rules entitle the government. The




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government notes that the Court’s March 1 minute order calling for a response by March 4 does

not direct the government to file a response contemplated under Rule 12 by that date; nothing in

the text of the order purports to direct that sort of response or to override the process prescribed in

the Rules. The government further notes that this interpretation of the Court’s March 4 minute

order is reasonable as the government would suffer prejudice if the Court intended its order to

override the process prescribed in the Rules, thereby lessening the governments’ response time

from 60 days to 6 days and requiring the government to provide a response under Rule 12 with

less than 72 hours of notice. Plaintiff did not seek such relief in its motion for expedited hearing

under Rule 57, nor does Rule 57 provide for such relief. Out of an abundance of caution, however,

if the Court were to treat the minute order as directing a Rule 12 response, the government

respectfully moves for the full period permitted to the government under Federal Rule of Civil

Procedure 12(a)(2) to respond to the complaint up to, and including April 26, 2019. In the

alternative, if the Court were not to grant an extension, the government respectfully moves to

convert this response to a motion under Rule 12(b).

                                             Conclusion

       For the reasons state above, the Court should not grant any relief to Plaintiff and should

deny Plaintiff’s request to handle the complaint and this case outside of the normal civil process.




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March 4, 2019                      Respectfully submitted,

                                   JOSEPH H. HUNT
                                   Assistant Attorney General

                                   SCOTT G. STEWART
                                   Deputy Assistant Attorney General

                                   AUGUST E. FLENTJE
                                   Special Counsel

                                   WILLIAM C. PEACHEY
                                   Director

                                   EDWARD S. WHITE
                                   Senior Litigation Counsel

                                   /s/ Joseph F. Carilli, Jr.
                                   JOSEPH F. CARILLI, JR.
                                   N.H. Bar Identification No. 15311
                                   Trial Attorney
                                   United States Department of Justice
                                   Civil Division
                                   Office of Immigration Litigation
                                   District Court Section
                                   P.O. Box 868, Ben Franklin Station
                                   Washington, D.C. 20044
                                   Telephone: (202) 616-4848
                                   E-mail: joseph.f.carilli2@usdoj.gov

                                   Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2019, the foregoing was filed electronically. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.

                                               /s/ Joseph F. Carilli, Jr.
                                               JOSEPH F. CARILLI, JR.
                                               N.H. Bar Identification No. 15311
                                               Trial Attorney
                                               United States Department of Justice
                                               Civil Division
                                               Office of Immigration Litigation
                                               District Court Section
                                               P.O. Box 868, Ben Franklin Station
                                               Washington, D.C. 20044
                                               Telephone: (202) 616-4848
                                               E-mail: joseph.f.carilli2@usdoj.gov

                                               Attorney for Defendants
